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Stephen H.M. Bloch (#7813)
Laura Peterson (#16135)
Hanna Larsen (#18458)
SOUTHERN UTAH WILDERNESS ALLIANCE
425 East 100 South
Salt Lake City, Utah 84111
Telephone: (801) 486-3161
Facsimile: (801) 486-4233
steve@suwa.org
laura@suwa.org
hanna@suwa.org

Attorneys for Defendant-Intervenor
Southern Utah Wilderness Alliance



                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


 STATE OF UTAH, et al.,

        Plaintiffs,                            Case No. 2:24-cv-00172-TS-DAO

 v.
                                               DEFENDANT-INTERVENOR
 DEB HAALAND, et al.,                          SOUTHERN UTAH WILDERNESS
                                               ALLIANCE’S RESPONSE TO
        Defendants,                            PLAINTIFFS’ COMPLAINT

 and
                                               District Judge Ted Stewart
 SOUTHERN UTAH WILDERNESS                      Magistrate Judge Daphne A. Oberg
 ALLIANCE,

        Defendant-Intervenor.


       Pursuant to DUCivR 7-4(b)(2), Defendant-Intervenor Southern Utah Wilderness Alliance

(SUWA), through counsel, hereby responds to Plaintiffs’ Complaint in the above-captioned

matter: the Bureau of Land Management’s San Rafael Desert Travel Management Plan:
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Reconsideration of Routes as Required by the 2022 Settlement Agreement is neither arbitrary

nor capricious and is instead supported by substantial evidence.

       SUWA also raises the following affirmative defenses:

       1.      Plaintiffs fail to state a claim upon which relief may be granted for all or some of

the claims in the Complaint.

       2.      All or some of the claims in Plaintiffs’ Complaint are not justiciable.

       3.      Plaintiffs’ lack standing to assert all or some of the claims in the Complaint.



Respectfully Submitted May 2, 2024.

                                              /s/ Hanna Larsen
                                              Hanna Larsen
                                              Stephen Bloch
                                              Laura Peterson

                                              Attorneys for Defendant-Intervenor
                                              Southern Utah Wilderness Alliance




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